

Matter of Miller (2022 NY Slip Op 02931)





Matter of Miller


2022 NY Slip Op 02931


Decided on April 29, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 29, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., LINDLEY, CURRAN, AND BANNISTER, JJ. (Filed Mar. 23, 2022.) 


&amp;em;

[*1]MATTER OF ROSEMARY CAROLYNE MILLER, AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDER
Application to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








